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                            10
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                            11
ADVANCING LAW FOR ANIMALS




                            12                                UNITED STATES DISTRICT COURT
                                                             EASTERN DISTRICT OF CALIFORNIA
                            13
                                                                   SACRAMENTO DIVISION
                            14
                                 E.L., a minor, by and through her general        Case No. 2:22-cv-01527-DAD-AC
                            15   guardian, JESSICA LONG; JESSICA LONG, an
                                 individual,
                            16                    Plaintiffs,
                                           v.                                     PLAINTIFF JESSICA LONG’S
                            17   LIEUTENANT JERRY FERNANDEZ,                      OPPOSITION TO MR. FLORES’ MOTION
                                 individually and in his individual capacity as   TO QUASH (ECF 87)
                            18
                                 Sheriff for the County of Shasta; DETECTIVE
                            19   JACOB DUNCAN, individually and in his            [See concurrently filed Declarations of Ryan
                                 individual capacity as Sheriff for the County of Gordon and Vanessa Shakib]
                            20   Shasta; DETECTIVE JEREMY ASHBEE,
                                 individually and in his individual capacity as   Trial Date: March 24, 2025
                            21
                                 Sheriff for the County of Shasta; SHASTA
                                 DISTRICT FAIR AND EVENT CENTER, a                Action Filed: August 31, 2022
                            22
                                 district agricultural association; COUNTY OF
                            23   SHASTA; SHASTA COUNTY SHERIFF’S
                                 DEPARTMENT; MELANIE SILVA, in her
                            24   individual capacity; BJ MACFARLANE, in his
                                 individual capacity; KATHIE MUSE, in her
                            25
                                 individual and official capacity, and DOES 1
                            26   through 10,
                                                  Defendants.
                            27
                            28
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                             1     I.   INTRODUCTION

                             2          Bad-faith and obstructionist discovery tactics abound in this civil rights litigation. This case
                             3   centers around the illegal seizure and slaughter of Plaintiffs’ beloved goat, Cedar. Text messages

                             4   obtained in discovery reveal Defendants Ms. Melanie Silva, Mrs. Kathie Muse, and Mr. Macfarlane
                             5   coordinated to conceal Cedar’s true fate. Ms. Silva made statements in deposition that were flat out
                             6   contradicted by her statements in texts produced by other Defendants and apparently spoliated
                             7   evidence. Multiple Defendants hid salient evidence to safeguard prominent officials. This includes
                             8   Mr. Macfarlane’s retraction of previous deposition testimony implicating Sheriff Michael Johnson,
                             9   and Mr. Macfarlane and Mrs. Muse’s obstructionist discovery tactics to shield Senator Brian Dahle
                            10   from unsavory public attention.
                            11          Plaintiffs have been prejudiced by these tactics. Plaintiffs’ counsel has expended tremendous
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                            12   resources seeking to offset this prejudice through subpoenaing the phone records of Ms. Silva, Mr.
                            13   Macfarlane, and Mrs. Muse, and serving various additional non-party subpoenas. Despite these efforts,
                            14   additional questions remain unanswered. To fill these gaps, Plaintiffs seek the business phone records
                            15   of Mr. Michael Flores, Deputy Secretary of the California Department of Food and Agriculture
                            16   (CDFA). Mr. Flores oversees California fairs and expositions, including the Shasta District Fair in
                            17   which Plaintiff E.L. participated.
                            18          Mr. Flores denies meaningful involvement in the events giving rise to this litigation. While
                            19   Plaintiffs would prefer to accept his explanation, the totality of testimony, emails, text messages, and
                            20   phone logs available cautions them from doing so. That evidence, taken together, suggests Mr. Flores
                            21   communicated with Sheriff Johnson, either directly or indirectly through the Shasta County Sheriff’s
                            22   Department, and Sheriff Johnson then instructed Lieutenant Fernandez to call Mr. Macfarlane,
                            23   sparking a chain of unlawful events giving rise to Plaintiffs’ legal claims. The thrust of evidence to
                            24   date supports the fact the Shasta District Fair and Event Center maintained possession of Cedar for
                            25   weeks post-seizure, awaiting approval from CDFA, the Sheriff’s Department, and the District
                            26   Attorney to slaughter Cedar—despite repeated contact from Plaintiffs’ counsel. Further, Ms. Silva’s
                            27   hand-written notes indicate involvement of CDFA, the Sheriff’s Department, and the District Attorney
                            28   in Plaintiffs’ due process violations following pre-litigation contact from Plaintiffs’ counsel.
                                                                                 1
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                             1             Plaintiffs rightfully seek to ascertain all participants in the due process violations they suffered.

                             2   Given the overall climate of bad-faith discovery tactics, Mr. Flores’ business phone records are
                             3   discoverable and relevant, as they help determine who at the CDFA, the Sheriff’s Department, and/or

                             4   the District Attorney’s Office participated in Cedar’s illegal seizure and slaughter, and are further
                             5   relevant for impeachment purposes.
                             6             Finally, Mr. Flores’ Motion to Quash fails for several reasons. At the outset, it is untimely
                             7   within the meaning of Fed. R. Civ. P. 45, and is further improperly filed after the close of discovery.
                             8   And substantively, it wrongly applies information sought in discovery to the standards of admissibility
                             9   in trial, asserts failed claims of privilege, and misapplies the Apex deposition doctrine.
                            10    II.      BACKGROUND
                            11             Plaintiffs include the instant rather lengthy background to illustrate for the Court the manner
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                            12   in which Plaintiffs have been prejudiced by obstructionist and bad-faith discovery tactics; the time and
                            13   resources expended by Plaintiffs’ counsel to mitigate this prejudice; and underscore why Mr. Flores’
                            14   phone records are necessary. For ease of the Court’s review, and to streamline the volume of discovery
                            15   collected to date, a master log of select relevant events is attached to the concurrently-filed Declaration
                            16   of Vanessa Shakib (“Shakib Decl.”) ¶ 5, Ex. 32 (“Plaintiffs’ Master Log”).
                            17             On August 31, 2022, Plaintiff Mrs. Long and her minor daughter, Plaintiff E.L., filed the
                            18   underlying civil rights litigation, as amended on March 2, 2023, and again on October 12, 2023. ECF
                            19   Nos. 1, 16, 25 (Second Amended Complaint or “SAC”). The SAC includes claims against 4-H
                            20   representative Mrs. Muse, Shasta District Fair & Events Center (“SDF”) CEO Ms. Silva, and SDF
                            21   Livestock Manager Defendant B.J. Macfarlane, and for § 1983 violations of the Fourth Amendment,
                            22   ¶¶ 105-110, violations of the Fourteenth Amendment, ¶¶ 111-115, and First Amendment Viewpoint
                            23   Discrimination, ¶¶ 181-188, with additional claims against the County of Shasta, Shasta County
                            24   Sheriff’s Department, Lieutenant Fernandez, Detective Duncan, and Detective Ashbee for
                            25   constitutional violations and other state law claims. See generally SAC. Plaintiffs claims center around
                            26   the wrongful search and seizure of Plaintiffs’ beloved goat, Cedar, who they allege was slaughtered
                            27   without notice and opportunity to be heard in violation of their rights to due process, among other
                            28   things.
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                                        A.      Plaintiffs Withdrew Cedar from SDF Youth Livestock Auction, and SDF
                             1                  Deferred to CDFA for Instruction
                             2
                                        In April 2022, Plaintiffs purchased E.L. a young male goat who E.L. named Cedar. E.L. fed
                             3
                                 and cared for Cedar every day until almost July 2022, and bonded with Cedar as if he were a puppy.
                             4
                                 SAC ¶ 20. Plaintiffs further allege that E.L. enrolled in her local 4-H chapter at that time. SAC ¶ 21.
                             5
                                 On or about June 25, 2022, pursuant to her 4-H program, E.L. exhibited Cedar in the junior livestock
                             6
                                 auction at the annual fair held by SDF. SAC ¶¶ 22-25. Plaintiffs allege that, although Defendant Mrs.
                             7
                                 Muse, on behalf of Senator Brian Dahle and Assemblywoman Megan Dahle, bid on Cedar’s meat, no
                             8
                                 sale of Cedar or his meat occurred. SAC ¶¶ 27-29, 33. Although the Dahles may have intended to
                             9
                                 donate Cedar’s meat to the July 9, 2022 barbecue operated by 4-H (“July 9 Government Barbecue”),
                            10
                                 because the sale of Cedar’s meat did not occur, Cedar’s meat was never donated. Id. at 40-41. Most
                            11
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                                 saliently, Plaintiffs allege after E.L. participated in the auction, she became despondent and emotional.
                            12
                                 Shortly thereafter that same evening, she sobbed in Cedar’s pen and told to her mother she didn’t want
                            13
                                 him killed. Plaintiffs allege E.L. exercised her statutory rights as a minor under California Family
                            14
                                 Code section 6710 to disaffirm any contract of sale that might have existed, and/or, breached any
                            15
                                 contract that might have existed, and left the fair with Cedar. Id. at ¶¶ 35, 165.
                            16
                                        Following Plaintiffs’ removal of Cedar from SDF fairgrounds, Plaintiffs offered in writing to
                            17
                                 pay for any damages claimed by SDF. SAC ¶ 48. Nonetheless, on about June 26, 2022, Defendant
                            18
                                 Macfarlane told Mrs. Long she would be prosecuted for removing Cedar. SAC ¶ 44. On or around
                            19
                                 June 27, 2022, while Mrs. Long was trying to resolve the dispute, third party Bleating Hearts Farm
                            20
                                 posted on Instagram a photo of Mrs. Long, E.L., and Cedar, stating, among other things, “PLEASE!
                            21
                                 IF YOU ARE ABLE TO CALL AND SEND A RESPECTFUL EMAIL TO SHASTA DISTRICT
                            22
                                 FAIRGROUNDS, ASK THEN PARDON [E.L.’S] GOAT FROM SLAUGHTER. SENATOR
                            23
                                 DAHLE PURCHASED HIM AND WOULD LIKE TO PARDON HIM BACK INTO HER CARE
                            24
                                 [¶] HE IS DUE TO BE KILLED TOMORROW” (hereinafter, “Viral Instagram Post”). See
                            25
                                 concurrently filed Declaration of Ryan Gordon (“Gordon Decl.”) ¶ 4, Ex. 1. Following the Viral
                            26
                                 Instagram Post, Ms. Silva testified “We had to forward our phones [for the Shasta Fair Association]
                            27
                                 because our phones were … blown up.” Gordon Decl. ¶ 33, Ex. 12 (Silva Dep. 49:02-11).
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                                         B.       Plaintiffs Contend Mr. Flores Either Called the Sheriff’s Department, or Knows
                             1                    Who Did
                             2           Mr. Michael Flores, appointed by Governor Newsom, is deputy secretary of CDFA. He is
                             3   responsible for overseeing California fair boards and fair grounds, including fifty two (52) district
                             4   agricultural associations. Gordon Decl. ¶ 72, Ex. 22 (Flores Dep. 12:08-16; 13:17-24). Among these
                             5   is the 27th District Agricultural Association, which operates the SDF. Cal. Food & Agric. Code §§
                             6   3879, 3951, 3954. Mr. Michael Francesconi serves as Fairs and Exposition Branch Chief at CDFA
                             7   and reports to Mr. Flores. Gordon Decl. ¶ 73, Ex. 22 (Flores Dep. 23:22-24:09). That same day
                             8   Bleating Hearts Farm made the Viral Instagram Post, Mr. Flores (5038) called Ms. Silva (0058) at
                             9   11:42 am. Gordon Decl. ¶ 5(a), Ex. 2. Later that evening, also on June 27, Mrs. Long emailed Ms.
                            10   Silva, offering to pay any damages in connection with Cedar’s removal (“Offer to Pay Damages”). Id.
                            11
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                                 ¶ 6(a), Ex. 3.
                            12           On June 28 at 1:31 pm, Ms. Silva emailed Mrs. Long, rejecting Mrs. Long’s previously-
                            13   emailed Offer to Pay Damages, explaining, the “social media this has been a negative experience for
                            14   the fairgrounds[,]” and stating, “I have spoken with the California Department of Food and Agriculture
                            15   and they have informed me that for the good of all we have to stick to the State Rules. You will need
                            16   to bring the goat back to the Shasta District Fair immediately.” Id. at ¶ 6(b), Ex. 3 at 4. Shortly
                            17   thereafter, at 3:07 pm, Ms. Silva forwarded her email to Mr. Francesconi, stating, “Hi Mike, I have
                            18   included the response I sent her. I have also updated my Board Member[.]” Id. at ¶ 6(c), Ex. 3 at 3.
                            19   Mr. Francesoni responded at 3:08 pm, “Hello Melanie Did BJ go out to pick up the goat? Thanks
                            20   Mike[.]” Id. at 6(d), Ex. 3 at 3. Ms. Silva responded within the hour requesting further direction,
                            21   asking “Hi Mike, She is not responding to either of us. Should we involve CHP next?” Id. at ¶ 6(e),
                            22   Ex. 3 at 2. Mr. Francesconi deferred to Mr. Flores, telling Ms. Silva on the evening of June 28, “I am
                            23   checking with Michael Flores on how he would like you to proceed. I will let you know when I learn
                            24   more. Thanks Mike[.]” Id. at ¶ 6(f), Ex. 3 at 1.
                            25           On June 29 at 9:06 am, Ms. Silva emailed Mr. Francesconi, “Hi Mike, Please call my cell
                            26   number [omitted] when you call back. We have the phones forwarded since they posted our number
                            27   to instagram.” Gordon Decl. at ¶ 6(g), Ex. 3 at 1. Ms. Silva’s handwritten notes state:
                            28
                                                                                 4
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                             1                    6/29 910A
                             2                    spoke w/him next
                                                  no response
                             3                    step? Will get
                                                  Back after speak[]
                             4                    w/flores
                             5
                             6   Gordon Decl. at ¶ 11, Ex. 6. At 9:22 am, Mr. Flores (5038) called Ms. Silva (0058). Id. at ¶¶ 5, 7, Ex.
                             7   2. At 9:49 am, Mrs. Long again sent Ms. Silva a second letter, stating, among other things, Cedar was
                             8   Plaintiff E.L.’s personal property; SDF never owned Cedar; grand theft had no basis; and the letter was
                             9   “in anticipation of litigation” of their civil dispute (“Notice of Civil Claim and Intention to Sue”). Id. at ¶
                            10   8, Ex. 4.
                            11
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                                         At 10:07 am, Mr. Flores (5038) called Ms. Silva (0058) again. Gordon Decl. at ¶ 9, Ex. 2. And,
                            12   at 11:04 am, Mr. Flores (5038) called Ms. Silva (0058) once more. Id. at ¶ 9, Ex. 2. Continuing on a
                            13   June 29 text thread beginning at 8:51 am, Ms. Silva texted Mr. Macfarlane, stating, “We are contacting
                            14   the Sheriff for the goat waiting for a call back[.]” Id. ¶ 10, Ex. 5. Ms. Silva’s handwritten notes state,
                            15   “Flores 6/29 Local Sheriffs[.]” Id. at ¶ 11, Ex. 6. At 11:29 am, Mr. Francesconi (5365) called Ms.
                            16   Silva (0058). Id. ¶ 9(c), Ex. 2; see also Plaintiffs’ Master Log.
                            17           Plaintiffs subpoenaed Ms. Silva’s cell phone records, work landline records, and her work cell
                            18   phone records. Gordon Decl. at ¶ 84. None of these records indicate she initiated a call to the Sheriff’s
                            19   Department. Id. at ¶ 85. This is consistent with her deposition testimony, where she stated, “I'm not
                            20   the one that called the sheriff, but yes, the sheriffs was used. Id. at ¶ 34, Ex. 12 (Silva Dep. Vol. 1,
                            21   279:21-25). Since Ms. Silva herself did not initiate contact with the Sheriff’s Department, Plaintiffs
                            22   contend that when she texted Mr. Macfarlane, “We are contacting the Sheriff for the goat waiting for
                            23   a call back[,]” she could only have meant the individual(s) with whom she was speaking. Plaintiffs
                            24   contend this is likely Mr. Flores, or in the alternative, Mr. Francesconi.
                            25           Mr. Macfarlane’s phone records, also subpoenaed by Plaintiffs, corroborate this theory.
                            26   Analysis of Mr. Macfarlane’s phone records indicate that Mr. Macfarlane did not initiate contact with
                            27   the Sheriff’s Department. Gordon Decl. at ¶ 60(a)-(c), Ex. 19. Rather, on June 29 at 11:52 am PDT,
                            28   Lieutenant Fernandez called Mr. Macfarlane. Id. This is consistent with Lieutenant Fernandez’s
                                                                                   5
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                             1   deposition testimony, where he stated Sheriff Johnson instructed him to investigate the alleged theft

                             2   of Cedar, and explained Cedar’s removal was a “big deal” with “a lot of the fair boards” in California.
                             3   Id. at ¶¶ 12-14 , Ex. 7 (Lieut. Fernandez Dep. 77:13-25; 78:10-14; 83:05-14; 277:02-279:09). Plaintiffs

                             4   contend Mr. Flores communicated with Sheriff Johnson, either directly or indirectly through the Shasta
                             5   County Sheriff’s Department, and Sheriff Johnson then instructed Lieutenant Fernandez to call Mr.
                             6   Macfarlane. Given Mr. Flores’ role with the CDFA, he is in the best position to understand how and
                             7   why Cedar’s removal and the subsequent Viral Instagram Post was a “big deal” with a “a lot of the
                             8   fair boards.” Alternatively, Plaintiffs contend Mr. Flores knows who communicated with Sheriff
                             9   Johnson.
                            10          Consistent with Plaintiffs theory of the case, Lieutenant Fernandez and Mr. Macfarlane
                            11   exchanged phone calls multiple times on June 29, beginning at 11:52 am, and concluding at 12:13 pm.
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                            12   Id. at ¶ 60(a)-(b), Ex. 19. After concluding his 12:13 pm conversation with Lieutenant Fernandez, Mr.
                            13   Macfarlane subsequently called Ms. Silva at 12:14 pm, and around this time, texted her Lieutenant
                            14   Fernandez’s email address. Id. at ¶ 60(c), Ex. 19; ¶15, Ex. 8. On June 29 at 12:27 pm, Ms. Silva
                            15   emailed several documents to Lieutenant Fernandez, including Mrs. Long’s Notice of Civil Claim and
                            16   Intention to Sue. Id. at ¶ 32 (Silva Vol. 1 Dep. 288:03-23, and Ex. K included in Dep. excerpts).
                            17   Lieutenant Fernandez called Ms. Silva for what appears to be the first time based on all phone records
                            18   reviewed on June 29 at 2:29 pm. Id. at ¶ 86, Ex. 2.
                            19          Although Plaintiffs contend that Mr. Flores communicated with Sheriff Johnson, or
                            20   alternatively, that Mr. Flores knows who did, Mr. Flores denies Plaintiffs’ theory of facts. Id. at ¶ 76,
                            21   Ex. 22 (Flores Dep. 79:21-81:08). Instead, as set forth infra at Section II(H)(i), Mr. Flores offered
                            22   testimony in tension with the evidence above implicating him.
                            23          C.      Lieutenant Fernandez and Detective Duncan Drove Over 500 Miles on the
                                                Evening of July 8 to Illegally Seize Cedar and Turn Him Over for Slaughter
                            24
                                        Despite receiving Plaintiffs’ Notice of Civil Claim and Intention to Sue, the night before the
                            25
                                 July 9 Government Barbecue, Lieutenant Fernandez and Detective Duncan drove several hundred
                            26
                                 miles from Shasta County to Bleating Hearts Sanctuary in Napa County on the pretense of a crime to
                            27
                                 execute the warrant for Cedar’s seizure. SAC ¶ 75. They discovered Cedar was not there, ascertained
                            28
                                                                                 6
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                             1   Cedar’s correct location from individuals at Bleating Hearts Sanctuary, and then travelled to the Billy’s

                             2   Mini Farm. Gordon Decl. at ¶ 19, 20, Ex. 9 (Det. Duncan Dep. 144:25–147:17). Once there, Lieutenant
                             3   Fernandez and Detective Duncan seized Cedar, and, at the direction of Mrs. Muse, turned him over to

                             4   Mr. Macfarlane. Id. at ¶ 17, Ex. 7 (Fernandez Dep. 269:16-270:10). No member of law enforcement
                             5   or any defendant in this case notified Mrs. Long of Cedar’s seizure. Rather, Billy’s Mini Farm
                             6   informed her of Cedar’s seizure on about July 15, 2022, after the July 9 Government Barbecue. ECF
                             7   39-17 at ¶ 20.
                             8          D.        Cedar was Not Slaughtered and Served at the July 9 Government Barbecue for
                                                  Which Defendants so Fervently Claim He Was Earmarked
                             9
                                        Although Mr. Macfarlane received Cedar at Mrs. Muse’s direction in the early morning of July
                            10
                                 9, Cedar was not eaten at the July 9 Government Barbecue. Rather, according to Mrs. Muse, she
                            11
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                                 received replacement meat from another goat from the board of SDF. Gordon Decl. at ¶ 27, Ex. 10
                            12
                                 (Muse Dep. 204:13-205:20).
                            13         E.     SDF Maintained Possession of Cedar for Weeks Post-Seizure, Awaiting Approval
                                              from CDFA, Sheriff’s Department, and District Attorney to Slaughter Cedar—
                            14                Despite Repeated Contact from Plaintiffs’ Counsel
                            15          Neither the Dahles nor Mrs. Muse ever paid for Cedar. Gordon Decl. at ¶ 54, Ex. 14 (Silva
                            16   Vol. 2 Dep. 431:14-20). Nonetheless, Mr. Macfarlane held Cedar until Cedar’s slaughter on July 28,
                            17   2022. Mr. Macfarlane testified that, from his perspective, he was operating under the direction of Ms.
                            18   Silva, Sheriff Johnson, the CDFA, and the District Attorney Stephanie Bridgett. Id. at ¶ 48, Ex. 13
                            19   (Macfarlane Dep. Vol. 1, 209:22-211:10). Mr. Macfarlane stated that between July 11-25, 2022, he
                            20   spoke with Sheriff Johnson “a couple times maybe.” Id. at ¶ 50, Ex. 13 (Macfarlane Dep. Vol. 1
                            21   207:10-22). Mr. Macfarlane’s testimony is consistent with a July 11 text message he sent Mrs. Muse,
                            22   stating, “Good morning … Talked to sheriff and he said to wait until he talks to DA before we kill
                            23   goat.” Id. at ¶ 49, Ex. 13 (Macfarlane Dep. Vol. 1, 204:01-205:08), Ex. 11. In deposition, Mr.
                            24   Macfarlane stated, in this text message, he was referring to Sheriff Michael Johnson and District
                            25   Attorney Stephanie Bridgett. Id. Mr. Macfarlane went into specific details concerning Sheriff Johnson,
                            26   including how he first met Sheriff Johnson and who he believes gave him Sheriff Johnson’s phone
                            27   number. Id. at ¶ 45, Ex. 13 (Macfarlane Vol. 1 Dep. 198:15-200:23).
                            28          Mr. Macfarlane also testified he spoke to Ms. Silva “multiple times” through the period of July
                                                                                 7
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                             1   8-28, 2022, as “she was the one that was gearing it, so what -- with the state and the sheriff, so...” Id.

                             2   at ¶ 47, Ex. 13 (Macfarlane Dep. Vol. 1, 208:25-209:17). Mr. Macfarlane was clear that “I don't
                             3   remember if [Ms. Silva] was the one talking to the sheriff. I think -- I know I did a couple times ….”

                             4   Id. Mr. Macfarlane further stated Ms. Silva instructed him to hold Cedar “Until the state said what was
                             5   going to happen.” Id. at ¶ 46, Ex. 13 (Macfarlane Dep. Vol. 1 202:11-203:23). He clarified by “the
                             6   state” he was referring to Mr. Francesconi or the “CDFA’s lawyer.” Id.
                             7           Mrs. Muse also stated individuals at the Sheriff’s Department and District Attorney’s Office
                             8   were involved. She testified “I was told from B.J. that the DAs and the sheriffs office, I don't know
                             9   which department, had told him to make sure that we save the ear tags.” Id. at ¶ 26, Ex. 10 (Muse Dep.
                            10   201:19-202:08).1 Ms. Silva stated she believed Mr. Macfarlane and Ms. Muse were awaiting
                            11   permission from the DA to slaughter Cedar. Id. at ¶ 36, 37, Ex. 10 (Silva Dep. Vol. 1, 66:04-10; 66:25-
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                            12   67:24; 68:17-22; 329:05-18).
                            13           Within this same period, between July 15-27, 2022, Mrs. Long’s counsel contacted both the
                            14   Sheriff’s Department and Shasta County Counsel multiple times, demanding to know what happened
                            15   to Cedar and that he be kept alive. Gordon Decl. ¶¶ 22, 80; see also Plaintiffs’ Master Log.
                            16           F.     Text Messages Reveal Defendants Coordinated to Conceal Cedar’s True Fate

                            17           On July 22 at 11:17 am, Ms. Silva called Mr. Macfarlane and the two spoke for 4 minutes.

                            18   Gordon Decl. at ¶ 60, Ex. 19. At 11:22 am, Mr. Macfarlane called Mrs. Muse, and the two spoke for

                            19   over 4 minutes. Id. Also at 11:22 am, Mr. Macfarlane texted Ms. Silva, “What’s gals name at bowman?

                            20   Kathy said ok but no one needs to know about this. U me and Kathy are only ones. It got killed and

                            21   donated to non profit if anyone asks.” Id. at ¶ 58, Ex. 17. Ms. Silva responded, “Serene[,]” then “Thank

                            22   you[,]” then “We are a non profit               [.]” Id. At 11:29 am, Mr. Macfarlane called Bowman

                            23   Meat Company, and arranged for Cedar’s slaughter. Id. at ¶ 60(c), Ex. 19; see also Plaintiffs’ Master

                            24   Log. According to Mr. Macfarlane, Bowman Meat Company killed Cedar on July 28. Gordon Decl.,

                            25   Ex. 13 (Macfarlane Vol. 1 Dep. Vol 1. 209:05 -212:15). To date, neither Ms. Silva, Mr. Macfarlane,

                            26   nor Mrs. Muse have offered any credible testimony as to who greenlit Cedar’s death, or who, if anyone,

                            27
                            28
                                 1
                                         By contrast, Mr. Macfarlane testified that Mrs. Muse told him to save Cedar’s ear tags. Gordon
                                 Decl. ¶ 51, Ex. 13 (Macfarlane Dep. Vol. 1, 212:13-213:04).
                                                                                 8
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                             1   received Cedar’s meat. Ms. Silva, Mr. Macfarlane, and Mrs. Muse all originally stated they did not

                             2   know who received Cedar’s meat. Gordon Decl. ¶ 28, Ex. 10 (Muse Dep. 235:19-236:10); id. at ¶ 38,
                             3   39, 40, Ex. 12 (Silva Dep. Vol. 1, 62:22-63:03; 66:04-10; 66:25-67:24; 68:17-22; 329:05-18). In his

                             4   second deposition, Mr. Macfarlane claimed his memory was refreshed and that Vista Real Estate
                             5   received Cedar’s meat. Id. at ¶ 64, Ex. 21 (Macfarlane Vol. 2 Dep. 349:24-350:09). This Court ordered
                             6   Vista Real Estate to produce all relevant documents with respect to Cedar, but Plaintiffs found no
                             7   evidence Vista Real Estate received Cedar’s meat. Id. at ¶ 90.
                             8          G.      Hand-Written Notes Indicate Involvement of CDFA, Sheriff’s Department, and
                                                District Attorney in Plaintiffs’ Due Process Violation Following Pre-Litigation
                             9                  Contact from Plaintiffs’ Counsel
                            10          Due to obstructionist discovery tactics outlined infra at Section II(H), gaps remain in

                            11   understanding what exactly happened to Cedar, when, and why. However, Ms. Silva’s handwritten
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                            12   notes offer a telling glimpse, stating:

                            13                            Mike Francesconi
                                                          DA
                            14                            Local Sheriff
                                                          transpired
                            15                            15-20 min
                                                          Back
                            16                            Owner
                                                          wont
                            17                            press charges
                                                          lawyer
                            18                            pro bono
                                 Gordon Decl. at ¶ 81, Ex. 6. Plaintiffs contend these notes reflect a 15-20 minute meeting between
                            19
                                 Mr. Francesconi, Sheriff Johnson and/or Lieutenant Fernandez, and District Attorney Bridgett. This
                            20
                                 is consistent with Lieutenant Fernandez’ testimony that he, Sheriff Johnson, and D.A. Bridgett had a
                            21
                                 conversation about Cedar within a week after Cedar’s retrieval. Id. at ¶ 21, Ex. 7 (Fernandez Dep.
                            22
                                 286:03-12; 165:03-14). Plaintiffs’ contend the notes further are roughly translated as follows: “[Cedar
                            23
                                 is] back” and “Owner [Mrs. Muse] won’t press charges[.]” In deposition, Ms. Silva stated that the “pro
                            24
                                 bono lawyer” she referenced in her notes was Plaintiffs’ counsel, Mr. Ryan Gordon. Id. at ¶ 82, Ex.
                            25
                                 14 (Silva Dep. Vol. 2, 410:25-411:15). Based on this context, Plaintiffs contend this conversation took
                            26
                                 place on or after July 15, 2022, but before the onset of this civil rights litigation on August 31, 2022.
                            27
                                 This is a logical inference because Plaintiffs’ counsel contacted both the Sheriff’s Department and
                            28
                                                                                  9
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                             1   Shasta County Counsel multiple times July 15-27, 2022, as set forth supra at Section II(E), so this

                             2   meeting took place no earlier than July 15, 2022. At the same time, this meeting could not have taken
                             3   place after the onset of this litigation because, once this case was filed on August 31, 2022, Mrs. Muse

                             4   began texting Lieutenant Fernandez regarding the criminal prosecution of Mrs. Long, thereby
                             5   departing from the previously documented stance that she would not press charges. Id. at ¶ 83, Ex. 23.
                             6   Plaintiffs theory is consistent with the fact Lieutenant Fernandez modified his original narrative for
                             7   the last time on Ju1y 26 at 12:15 pm. Shakib Decl. ¶ 25, Ex. 34 at 2; see also Plaintiffs’ Master Log.
                             8              Plaintiffs theory is also consistent with Mr. Flores’ testimony. Mr. Flores stated that he viewed
                             9   the Viral Instagram Post about one month after it was posted, sometime in July. Gordon Decl. at ¶ 74,
                            10   Ex. 22 (Flores Dep. 48:22-51:19). Mr. Flores first stated he is “not sure” how he learned of the Viral
                            11   Instagram Post to search it and that Ms. Silva did not tell him about it, but that “maybe” Mr.
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                            12   Francesconi did. Id. Plaintiffs contend ongoing involvement of CDFA, whether through Mr. Flores
                            13   and/or Mr. Francesconi, prompted Mr. Flores to seek the Viral Instagram Post. This is consistent with
                            14   Mr. Flores deposition testimony that he had approximately 15 conversations with Mr. Francesconi
                            15   about Cedar from June 2022 to September 2022, where he was provided “updates as to what might
                            16   have been transpiring.” Id. at ¶ 75, Ex. 22 (Flores Dep. 71:23-72:19; 74:02-22).
                            17              The continued involvement of CDFA, the Sheriff’s Department, and the District Attorney is
                            18   further supported by Mr. Macfarlane’s and Mrs. Muse’s deposition testimony described supra at
                            19   Section II(E). As a result, Plaintiffs contend the Sheriff’s Department, the District Attorney, the
                            20   CDFA, and Ms. Silva were all aware that Plaintiffs retained counsel prior to this litigation and were
                            21   actively looking for Cedar; thus, Plaintiffs contend all of these parties participated in the due process
                            22   violations alleged in this case. Although Sheriff Johnson and DA Bridgett deny Plaintiffs’ allegations,
                            23   Id. at ¶¶ 88, 89, Exs. 24-25, Plaintiffs contend their denials are not credible, contradict substantial
                            24   evidence collected to date, and are further undermined by an overall climate of bad-faith discovery
                            25   tactics.
                            26              H.     Discovery Was Extended to Determine Who at the CDFA, the Sheriff’s
                                                   Department, and District Attorney’s Office Greenlit Cedar’s Killing, But
                            27                     Obstructionist Discovery Tactics and Spoliation Concealed Those Facts
                            28              On March 14, 2024, the parties in this case stipulated to a discovery extension for the limited
                                                                                    10
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                             1   purpose of allowing Plaintiffs to determine who at the CDFA, the Sheriff’s Office, and/or the District

                             2   Attorney’s Office gave permission for Mr. Macfarlane to slaughter Cedar—as he initially testified.
                             3   See ECF 65, 4:19-5:15. Plaintiffs contend obstructionist discovery tactics outlined herein underscore

                             4   the involvement of all parties as described above in Plaintiffs due process violations, and illustrate the
                             5   need for Mr. Flores’ phone records in this case.
                             6                   i.     Mr. Flores’ Testimony is Incongruous with Documents and Other
                                                        Testimony
                             7
                                        Plaintiffs obtained phone records for Ms. Silva from the date range June 25, 2022 to September
                             8
                                 1, 2022. Gordon Decl.¶ 5, Ex 2. During this swath of time, based on the phone numbers currently
                             9
                                 known to Plaintiffs’ counsel, Mr. Flores only contacted Ms. Silva immediately following Cedar’s
                            10
                                 removal, amid public outcry over the Viral Instagram Post, and around the time Ms. Silva texted Mr.
                            11
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                                 Macfarlane “We are contacting the Sheriff for the goat waiting for a call back[,]” namely, June 27
                            12
                                 (once) and June 29 (several times). Gordon Decl. ¶¶ 9-10, Ex. 2, 5. In deposition, Mr. Flores stated
                            13
                                 that the June 27 phone call concerned “picking up a barbecue” and not Cedar. Id. at ¶ 72 Ex. 22 (Flores
                            14
                                 Dep. 35:07-36:08). He further stated, regarding the three phone calls he initiated to Ms. Silva on June
                            15
                                 29, it was “possible” he discussed Cedar, as well as “a giant barbecue.” Id. at ¶ 78 Ex. 22 (Flores Dep.
                            16
                                 36:18-37:03). Regarding any discussion of Cedar, he stated, “It was my recommendation that she work
                            17
                                 with local authorities. And that was it.” Id. at ¶ 79 Ex. 22 (Flores Dep. 38:1-14). Plaintiffs contend this
                            18
                                 testimony omits salient facts.
                            19
                                        Emails indicate that Mr. Francesconi deferred to Mr. Flores, telling Ms. Silva on the evening
                            20
                                 of June 28, “I am checking with Michael Flores on how he would like you to proceed…” Id. at ¶ 6(f),
                            21
                                 Ex. 3 at 1. Further, Mr. Macfarlane testified he was waiting on the CDFA. Mr. Flores’ lack of
                            22
                                 knowledge is at odds with this other evidence, which is why his phone records are pursued. See also
                            23
                                 Plaintiffs’ Master Log.
                            24
                                                ii.     Ms. Silva Perjured Herself in Deposition and Spoliated Evidence
                            25
                                        Plaintiffs are prejudiced, as, first, Ms. Silva was dishonest in deposition, and second, Ms. Silva
                            26
                                 apparently failed to retain all text messages regarding Cedar and Plaintiffs. Gordon Decl. ¶ 41, Ex. 12
                            27
                                 (Silva Dep. Vol. 1, 155:10-156:17). Critically, Ms. Silva testified she didn’t have any contact with Mr.
                            28
                                                                                  11
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                             1   Macfarlane while he was in possession of Cedar, id. at ¶ 38, Ex. 12 (Silva Dep. Vol. 1 63:02-03); she

                             2   didn’t know that Mr. Macfarlane had Cedar, id. at ¶ 38, 39, Ex. 12 (Silva Dep. Vol. 1 62:02-24; 64:13-
                             3   15; 69:18-24); she “didn’t have a say” in what happened to Cedar, id. at ¶ 40, Ex. 12 (Silva Dep. Vol.

                             4   1 68:06-07); she “never knew” Cedar was killed on July 28, id.; and that she “just wasn’t curious”
                             5   about Cedar and "didn't give it as much thought as [Plaintiffs’ counsel] is saying[,]” id., Ex. 12 (Silva
                             6   Dep. Vol. 1 123:02-124:03; 183:01-15).
                             7          These statements are false. Ms. Silva had sustained communication with Mr. Macfarlane
                             8   throughout the relevant period, and Mr. Macfarlane testified all calls reflected in his phone records
                             9   with Ms. Silva concerned Cedar. Gordon Decl. ¶ 65, Ex. 21; see generally Plaintiffs’ Master Log. On
                            10   July 11—the same day Mr. Macfarlane texted Mrs. Muse “Talked to sheriff and he said to wait until
                            11   he talks to DA before we kill goat”—Ms. Silva emailed Mrs. Muse the Dahle’s invoice for Cedar, and
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                            12   wrote, “Hi Kathie, I have attached their bills. I appreciate the update!” Gordon Decl. ¶ 56, Ex. 15.
                            13   Plaintiffs contend this email indicates a previous and recent conversation about Cedar. On July 18,
                            14   sometime after 10:29 am, Ms. Silva texted Mr. Macfarlane, “The word goat makes my eye twitch now
                            15                             [,]” to which Mr. Macfarlane texted Ms. Silva, “It should. Lol[.]” Id. at ¶ 57,
                            16   Ex. 16. On July 22, the phone call sequence involving Ms. Silva as described supra takes place.
                            17   Additionally, on July 22, as described supra, Ms. Silva and Mr. Macfarlane text about their cover story
                            18   as to Cedar’s ultimate disposition, and Ms. Silva provides the name of the relevant employee at
                            19   company who ultimately butchers Cedar. On July 25 at 3:15 pm, Ms. Silva called Mr. Macfarlane and
                            20   the two had a short conversation. Id. at ¶ 60(g), Ex. 19. Later that day at 3:31 pm, Mr. Macfarlane
                            21   called Ms. Silva and the two spoke for over 5 minutes. Id. On July 28, Mr. Macfarlane texted Ms.
                            22   Silva, “Goat is getting butchered within the half hour. Finally.” Id. at ¶ 60(h), Ex. 19. Contrary to her
                            23   deposition testimony, Ms. Silva plainly knew what was happening with Cedar. See generally
                            24   Plaintiffs’ Master Log.
                            25                 iii.     Multiple Defendants Obstructed Discovery to Safeguard Prominent
                                                        Government Officials
                            26
                                        Plaintiffs contend Defendants omitted material facts in an attempt to mitigate their own
                            27
                                 liability, but also to safeguard prominent officials, including Sheriff Johnson and State Senator Dahle.
                            28
                                                                                   12
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                                                                1.     Mr. Macfarlane Retracted Previous Deposition Testimony
                             1                                         Implicating Sheriff Michael Johnson
                             2          In the first volume of his deposition, Mr. Macfarlane stated he spoke to Sheriff Johnson “a
                             3   couple times maybe” regarding Cedar, and that his July 11 text message to Mrs. Muse (“Good morning
                             4   … Talked to sheriff and he said to wait until he talks to DA before we kill goat.”) referred to Sheriff
                             5   Johnson. Id. at ¶ 49, Exs. 11, 13 (Macfarlane Vol. 1 Dep. 204:01-205:08), He offered further detail,
                             6   including how he met Sheriff Johnson and how he got his phone number. Id. at ¶ 45, Ex. 13
                             7   (Macfarlane Vol. 1 Dep. 198:15-200:23). Mr. Macfarlane never corrected his deposition testimony,
                             8   and the time to do so lapsed. Gordon Decl. ¶ 43. In the second volume of his deposition, Mr.
                             9   Macfarlane stated that Ms. Silva and Mrs. Muse were in contact with the Sheriff’s Department and the
                            10   District Attorney, and that he has never spoken with Sheriff Johnson regarding Cedar. Gordon Decl.
                            11
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                                 ¶ 62, 63, Ex. 21 (Macfarlane Dep. Vol. 2, 250:08-251:08; 269:20-23). Although he stated in his first
                            12   deposition sitting that the July 11 text to Mrs. Muse referred to Sheriff Johnson, in his second sitting,
                            13   Mr. Macfarlane said that he meant Lieutenant Fernandez in the July 11 text, and that he was
                            14   referencing a conversation that took place when Cedar was surrendered to him in the early hours of
                            15   July 9. Gordon Decl. ¶ 66, Ex. 21 (Macfarlane Dep. Vol. 2, 247:4-248:15). Plaintiffs contend this
                            16   retraction is incredible. If Plaintiffs are incorrect, however, this means Lieutenant Fernandez
                            17   committed perjury in deposition when he stated he did not know Cedar would be killed. Gordon Decl.
                            18   ¶ 20(a), Ex. 7 (Lieut. Fernandez Dep. 274:10-18).
                            19                                  2.     Mr. Macfarlane and Mrs. Muse Engage in Obstructionist
                                                                       Discovery Tactics to Shield Senator Dahle
                            20
                                        Both Mr. Macfarlane and Mrs. Muse engaged in obstructionist tactics regarding State Senator
                            21
                                 Dahle and his staff. Mr. Macfarlane did not produce any text messages from Bruce Ross, an employee
                            22
                                 of Senator Dahle. Gordon Decl. ¶ 68. Plaintiffs’ counsel sent meet and confer correspondence,
                            23
                                 specifically requesting telecommunication with Bruce Ross. Id. at ¶ 52, Ex. 26. Still, none were
                            24
                                 produced. During his second deposition sitting, Mr. Macfarlane stated he did not delete any text
                            25
                                 messages from Bruce Ross. Gordon Decl. ¶ 67, Ex. 21 (Macfarlane Dep. Vol. 2, 329:15-330:02).
                            26
                                 Plaintiffs subsequent review of Mr. Macfarlane’s mobile phone records, however, indicated SMS text
                            27
                                 messages with Bruce Ross during the relevant period. Id. at ¶ 69. Due to these obstructionist tactics,
                            28
                                                                                 13
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                             1   Plaintiffs were forced to serve a non-party document subpoena on Mr. Ross to obtain these text

                             2   messages, which, as suspected, concerned Cedar and Plaintiffs. Id. at ¶ 69, Ex. 27.
                             3          Similarly, Mrs. Muse testified that she speaks to Senator Brian Dahle on the phone once every

                             4   three months, and Assembly member Megan Dahle once every six weeks. Gordon Decl. ¶¶ 29-30, Ex.
                             5   10 (Muse Dep. 44:10-16; 45:14). She further stated she did not have any conversations with Senator
                             6   Dahle regarding Cedar from June 30, 2022 to August 31, 2022. Gordon Decl. ¶ 29, Ex. 10 (Muse Dep.
                             7   48:13-21). Plaintiffs’ counsel subsequently subpoenaed the mobile phone records of Mrs. Muse,
                             8   revealing phone calls with a number Senator Dahle listed online as his cell phone (XXX-XXX-3888)
                             9   on June 28 at 9:51 am, 9:54 am, 10:37 am, 8:16 pm; June 29 at 4:41 pm; July 8 at 5:17 pm; July 9 at
                            10   12:02 pm; and September 1 at 6:38 pm. Gordon Decl. ¶ 87, Ex. 29; Shakib Decl. ¶¶ 5, 16, Ex. 32, 33.
                            11   These are all critical dates in the timeline of this case; on June 28-29, SDF was seeking direction from
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                            12   CDFA and corresponding with Plaintiffs over email and text amid fallout from the Viral Instagram
                            13   Post; on July 8-9, the Sheriff’s officers illegally seized and surrendered Cedar to Mr. Macfarlane at
                            14   the instruction of Mrs. Muse; and on September 1, 2022, media coverage over this litigation began,
                            15   implicating the Dahles and Mrs. Muse. Given the dates of those calls, Ms. Muse’s claim she did not
                            16   speak to the Dahles about Plaintiffs is incredible. Additionally, email correspondence indicates
                            17   Senator Dahle’s staff was kept abreast of updates regarding Cedar, with a previously-dormant email
                            18   chain regarding Plaintiffs and Cedar revived on August 9, with one email asking, “Birria?” and
                            19   another, “So is the stolen goat issues over?” Gordon Decl. ¶ 70, Ex. 28; see also Plaintiffs’ Master
                            20   Log.
                            21   III.   ARGUMENT
                            22          Mr. Flores’ Motion to Quash should be denied for many reasons. First, it is untimely within
                            23   the meaning of Fed. R. Civ. P. 45, and further improperly filed after the close of discovery in this case.
                            24   Second, Mr. Flores’ business phone records are discoverable and relevant, as they help determine who
                            25   at the CDFA, the Sheriff’s Department, and/or the District Attorney’s Office participated in Cedar’s
                            26   illegal seizure and slaughter, and are further be relevant for impeachment purposes. And third, all of
                            27   Mr. Flores’ arguments fail. He wrongly applies information sought in discovery to the standards of
                            28   admissibility in trial; he asserts failed claims of privilege; and misapplies the Apex deposition doctrine,
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                             1   as set forth below.

                             2           A.     Mr. Flores’ Motion to Quash is Untimely
                             3           A motion to quash must be timely filed. Fed. R. Civ. P. 45(d)(3)(A). “Courts generally agree

                             4   that a motion to quash under Rule 45 is timely if made before the date specified for compliance with
                             5   the subpoena.” Handloser v. HCL America, Inc., 2020 WL 4700989, at *4 (N.D. Cal. Aug. 13, 2020).
                             6   Mr. Flores’ attorney was served with the subpoena on May 6, 2024. The subpoena’s date of
                             7   compliance was May 17, 2024. Gordon Decl. ¶¶ 91, 92, Ex. 30. His motion, however, was not filed
                             8   until June 7, 2024, making it untimely. Mr. Flores’ motion to quash is further improper and untimely,
                             9   as discovery in this matter closed on May 24, 2024. ECF 67. Mr. Flores filed his motion two weeks
                            10   later, on June 5, 2024.2 As a result of this untimeliness, Plaintiffs respectfully request the Court deny
                            11   Mr. Flores’ Motion to Quash.
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                            12           B.     Mr. Flores’ Work Phone Records are Relevant and Discoverable
                            13           Throughout Mr. Flores’ motion, he describes the records sought as his “personal records.”
                            14   According to Verizon, however, the cell phone at issue is a business phone with hundreds of numbers
                            15   held by the account holder. Gordon Decl. ¶ 93. The subpoenaed records are not his personal records
                            16   but, rather, his business records—and they are both relevant and discoverable. Any party may serve a
                            17   subpoena commanding a nonparty “to attend and give testimony or to produce and permit inspection
                            18   and copying of” documents. Fed. R. Civ. P. 45(a)(1)(C). Further, “At any time, on notice to the
                            19   commanded person, the serving party may move the court for the district where compliance is required
                            20   for an order compelling production or inspection.” Fed. R. Civ. P. 45(d)(2)(B)(i).
                            21           Fed. R. Civ. P. 26(b) establishes the scope of discovery and provides that all civil litigants are
                            22   entitled to discovery of “any nonprivileged matter that is relevant to any party's claim or defense.” Fed.
                            23   R. Civ. P. 26(b)(1). “Information within this scope of discovery need not be admissible in evidence to
                            24   be discoverable.” Id. Relevance is “construed broadly to encompass any matter that bears on, or that
                            25   reasonably could lead to other matter that could bear on, any issue that is or may be in a
                            26   2
                                         Note that Plaintiffs’ counsel did represent to Mr. Flores’ attorney that Verizon stated no records
                            27   would be released absent a court order compelling production, the procedure Verizon employed on
                                 prior subpoenas in this case. Gordon Decl. ¶ 93. Nonetheless, the instant motion to quash was not
                            28   timely under the Federal Rules of Civil Procedure 45 or the case scheduling order, ECF 67, and appears
                                 unnecessary given Plaintiff’s pending motions to compel. ECF 78, 85.
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                             1   case.” Oppenheimer Fund, Inc., v. Sanders, 437 U.S. 340, 351 (1978).

                             2          Cell phone records of parties, like those at issue in the instant dispute, are recognized as
                             3   relevant. See, e.g., Murray v. City of Carlsbad, 2010 U.S. Dist. LEXIS 63933, *5 (S.D. Cal. June 25,

                             4   2010) (explaining “phone records are discoverable if for no other reason than the impeachment of
                             5   Officer Luc.”). The subpoena is subject to the relevance requirements set forth in Rule 26(b). The
                             6   Rutter Group, Federal Civil Procedure Before Trial § 11:2305 (2005). These general discovery
                             7   limitations apply with equal force to subpoenas to third parties. Gonzales v. Google, Inc., 234 F.R.D.
                             8   674, 679–80 (N.D. Cal. 2006). Here, Mr. Flores’ business phone records are discoverable and relevant
                             9   for several reasons.
                            10                   i.     The Subpoenaed Records are Relevant to Determining Who at the CDFA,
                                                        Sherriff’s Department, and District Attorney’s Office Participated in
                            11                          Cedar’s Illegal Seizure and Slaughter
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                            12          The parties in this case engaged in significant discovery. Yet, to date, it is still unclear why

                            13   Cedar’s slaughter was delayed until July 28, 2022, particularly in light of calls from Plaintiffs’ counsel

                            14   from July 15-27, 2022 to the Sheriff’s Department and Shasta County Counsel. Further, the identity

                            15   of all individuals who took part in killing Cedar is also unclear. There is good cause to believe Mr.

                            16   Flores’ records will shed light on these issues.

                            17          Plaintiffs already know SDF, through Ms. Silva, deferred to CDFA—and specifically Mr.

                            18   Flores—for instruction following Cedar’s removal. See supra at Section II(A). When Mrs. Long did

                            19   not return Cedar, Ms. Silva deferred to CDFA—and specifically Mr. Flores—for direction amid public

                            20   fallout from the Viral Instagram Post. See supra at Section II(A). Plaintiffs have meaningful evidence

                            21   supporting their theory Mr. Flores communicated with Sheriff Johnson, either directly or indirectly

                            22   through the Shasta County Sheriff’s Department, and Sheriff Johnson then instructed Lieutenant

                            23   Fernandez to call Mr. Macfarlane. See supra at Section II(B). The thrust of evidence to date supports

                            24   the fact SDF maintained possession of Cedar for weeks post-seizure, awaiting approval from CDFA,

                            25   the Sheriff’s Department, and the District Attorney to slaughter Cedar—despite repeated contact from

                            26   Plaintiffs’ counsel. See supra at Section II(E). Further, Ms. Silva’s hand-written notes indicate

                            27   involvement of CDFA, the Sheriff’s Department, and the District Attorney in Plaintiffs’ Due Process

                            28   violation following pre-litigation contact from Plaintiffs’ counsel. See supra at Section II(G).
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                             1          Mr. Flores’ business phone records are calculated to fill gaps in the timeline of events leading

                             2   up to Plaintiffs’ due process violations, including who, if anyone, Mr. Flores spoke to in law
                             3   enforcement on critical dates. The business phone records are also relevant for impeachment, as set

                             4   forth below.
                             5                  ii.     The Subpoenaed Records are Relevant for Impeachment
                             6            “It is a legitimate purpose of discovery to obtain information for use on cross-examination
                             7   and for the impeachment of witnesses.” 10 Federal Procedure, Lawyers Edition § 26:135 (2024), citing
                             8   Hickman v. Taylor, 329 U.S. 495 (1947), Englebrick v. Worthington Industries, Inc., 670 F. Supp. 2d
                             9   1048 (C.D. Cal. 2009); see also 8 Charles Alan Wright & Arthur R. Miller, Federal Practice and
                            10   Procedure § 2015 (3d ed. 2024) (“Discovery is commonly allowed in which the discovering party
                            11   seeks information with which to impeach witnesses for the opposition”). Under 2015 amendments to
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                            12   Federal Rules of Civil Procedure, Rule 26, “‘information that could be used to impeach a likely
                            13   witness’ is still discoverable pursuant to Rule 26(b)(1) if ‘suitably focused,’ that is, that the
                            14   information sought is relevant to the parties’ claims and defenses.” Strategic Partners, Inc. v. FIGS,
                            15   Inc., 2020 WL 4354172, * 10 (C.D. Cal. May 18, 2020) (citing IceMOS Technology Corporation v.
                            16   Omron Corporation, 2020 WL 1905736 (D. Ariz. Apr. 17, 2020)). Phone records themselves have
                            17   been compelled solely for their impeachment value. See, e.g., Murray v. City of Carlsbad, 2010 U.S.
                            18   Dist. LEXIS 63933, *5 (S.D. Cal. June 25, 2010) (explaining “phone records are discoverable if for
                            19   no other reason than the impeachment of Officer Luc.”).
                            20          Here, bad-faith tactics abound, including false deposition testimony and spoliation of evidence.
                            21   Text messages reveal Ms. Silva, Mr. Macfarlane, and Mrs. Muse coordinated to conceal Cedar’s true
                            22   fate. See supra at Section II(F). Ms. Silva perjured herself in deposition and spoliated evidence. See
                            23   supra at Section II(H)(ii). Multiple defendants omitted salient facts in deposition to safeguard
                            24   prominent officials. This includes Mr. Macfarlane’s retraction of previous deposition testimony
                            25   implicating Sheriff Johnson, and Mr. Macfarlane and Mrs. Muse’s obstructionist discovery tactics to
                            26   shield Senator Dahle from unsavory public attention. See supra at Section II(H)(iii)(1)-(2).
                            27          As for Mr. Flores, Plaintiffs would prefer to adopt his narrative non-involvement but simply
                            28   cannot do so given the unreliability of the nearly all other testimony in this case. See supra at Section
                                                                                 17
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                             1   II(H)(i). Further, Ms. Silva’s texts and notes suggest Mr. Flores called law enforcement—which he

                             2   denies. See supra at Section II(B). The phone records are therefore discoverable because they may not
                             3   only impeach Mr. Flores’ testimony, but may also impeach Sheriff Johnson and the DA Bridgett. Both

                             4   Sheriff Johnson and DA Bridgett assert they played no part in Cedar’s death—despite Mrs. Muse, Ms.
                             5   Silva, and Mr. Macfarlane each testifying those government actors decided when it was okay to kill
                             6   Cedar. Gordon Decl. ¶¶ 25- 26, Ex. 10 (Muse Dep. 199:5-15, 201:19-202:08), Ex. 36 (Silva Vol. 1
                             7   Dep. 65:14-68:22), Ex. 48-50 (Macfarlane Dep. Vol. 1, 209:22-211:10, 204:01-205:08, 207:10-22).
                             8          Plaintiffs have relied on phone records and non-party subpoenas to date to counteract
                             9   obstructionist discovery tactics and mitigate prejudice, and must continue to do so. As a result, Mr.
                            10   Flores’ business phone records are relevant and discoverable, and Mr. Flores has failed to plausibly
                            11   argue otherwise.
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                            12          C.      Mr. Flores’ Arguments are Untenable
                            13          “[T]he party seeking to quash the subpoena has the burden of persuasion.” Strike 3 Holdings,
                            14   LLC v. Doe, 2024 WL 873052, * 1 (E.D. Cal. Feb. 29, 2024). But Mr. Flores has not met this burden.
                            15   First, he wrongly applies information sought in discovery to the standards of admissibility in trial;
                            16   second, he asserts failed claims of privilege; and third, he misapplies the Apex deposition doctrine, as
                            17   set forth below.
                            18                      i.   Mr. Flores Wrongly Applies Information Sought in Discovery to the
                                                         Standards of Admissibility in Trial
                            19
                                        Mr. Flores contends the records are not relevant or discoverable because they “do not
                            20
                                 establish who was on the other end of the call, what was discussed, or even that [he] was the individual
                            21
                                 who placed the call from his own cellular phone.” Mot. to Quash at 4:17-21. This argument wrongly
                            22
                                 holds information sought in discovery to the standards of admissibility at trial. Because discovery is
                            23
                                 much broader, “[i]nformation within this scope of discovery need not be admissible in evidence to
                            24
                                 be discoverable.” Frayno Crumb v. M. Hasselblad, et al., 2018 WL 521506, *1 (S.D. Cal. Jan. 22,
                            25
                                 2018) (citing Fed. R. Civ. P. 26(b)(1)). Additionally, if a call to Shasta County law enforcement was
                            26
                                 placed from Mr. Flores work cell, it is simply not believable someone other than him made the call,
                            27
                                 as evidence shows Ms. Silva deferred to instruction from Mr. Flores, spoke with Ms. Silva several
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                             1   times during the critical period, and spoke with Mr. Francesconi about fifteen (15) times. See supra

                             2   Section II(A)-(B). Further, even in the near-zero chance some other person called law enforcement
                             3   from Mr. Flores’ CDFA cell phone, that information would still be discoverable – and relevant –

                             4   because it would show the CDFA initiated the sham criminal proceedings against Plaintiff Long.
                             5                  ii.     Mr. Flores Asserts Failed Claims of Privilege
                             6           Mr. Flores claims his business phone records are subject to deliberative-process privilege, Mot.
                             7   to Quash, 4:19-23, executive privilege, and attorney-client privilege, id. at 4:01-02. But he failed to
                             8   meet his burden as to any of these privileges, and, nor could he, as none of these privileges apply.3
                             9           Regarding Mr. Flores’ assertion of deliberate-process privilege, he has the burden to establish
                            10   that it applies. See Shiflett by and through Davenport v. City of San Leandro, 2023 WL 4551077, at
                            11   *2 (N. D. Cal. July 13, 2023) (“Shiflett”) (explaining the city asserting the deliberative-process
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                            12   privileges “has the burden to demonstrate that the privileges apply”). Despite this burden, Mr. Flores
                            13   merely asserts the deliberate-process privilege applies, without explanation or proof. This is
                            14   insufficient to carry his burden. See Doutherd v. Montesdeoca, 2018 WL 3008867 (E.D. Cal.
                            15   2018) (explaining conclusory statement of privilege did not meet burden of proof); Blankenship v.
                            16   Hearst Corp., 519 F.2d 418, 429 (9th Cir. 1975) (explaining the “party who resists discovery has …
                            17   burden of clarifying, explaining, and supporting its objections”).
                            18           Nor could Mr. Flores meet his burden, as the records sought do not intrude upon the
                            19   deliberative process privilege, which merely “shields from public disclosure confidential interagency
                            20   memoranda on matters of law or policy.” Estate of Serna v. County of San Diego, 689 F.Supp.3d
                            21   848 (S.D. Cal. Aug. 30, 2023) (citing Nat'l Wildlife Fed'n v. U.S. Forest Serv., 861 F.2d 1114, 1116
                            22   (9th Cir. 1988)). “This deliberative process privilege applies to documents that ‘reflect advisory
                            23   opinions recommendations and deliberations comprising part of a process by which government
                            24   decisions and policies are formulated.’ ” Id. (citing F.T.C. v. Warner Commc'ns Inc., 742 F.2d 1156,
                            25   1161 (9th Cir. 1984)). “The document ‘must be predecisional – i.e., it must have been generated before
                            26
                            27   3
                                         Mr. Flores further claims his business phone records are irrelevant. Mot. to Quash, 4:19-23.
                                 But his business phone records are relevant and discoverable for the reasons stated supra at Section
                            28
                                 III(B).
                                                                                 19
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                             1   the adoption of a policy or decision,’ and it “must be deliberative in nature, containing opinions,

                             2   recommendation, or advice about ... policies [or decisions].’ ” Ibid. In assessing whether the document
                             3   is deliberative in nature, the inquiry is “whether the requested information independently reflects the

                             4   deliberative process itself” because “purely factual material that does not reflect deliberative processes
                             5   is not protected,” and “[o]nly those portions of a predecisional document that reflect the give and take
                             6   of the deliberative process may be withheld.” Shiflett, at *4. Mr. Flores’ phone records do not meet
                             7   any aspect of this test. They are not “confidential interagency memoranda on matters of law or policy”
                             8   Estate of Serna, supra, 689 F.Supp.3d 848, nor are they “deliberative in nature, containing opinions,
                             9   recommendation, or advice about ... policies.” Id. Rather, the phone records are “purely factual
                            10   material that does not reflect deliberative processes [and thus] is not protected.” Shiflett, at *4
                            11          Regarding Mr. Flores’ nebulous assertion of executive privilege and attorney-client privilege,
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                            12   to the extent Mr. Flores’ reference to “executive privilege” is synonymous to the deliberative process
                            13   privilege, that has already been addressed. See New York Times Co. v. United States Dept. of Justice,
                            14   756 F3d 100, 112-114 (2nd Cir. 2014) (referencing “deliberative process privilege…a.k.a., the
                            15   executive privilege”) (internal parentheses omitted). To the extent Mr. Flores means some other
                            16   executive privilege, such as the states secret privilege or Presidential communications privilege, it is
                            17   unclear, nor would such privileges apply here. The “state secrets privilege is a common law evidentiary
                            18   privilege that allows the government to deny discovery of military secrets.” Kasza v. Browner, 133
                            19   F3d 1159, 1165-1166 (9th Cir. 1998). Mr. Flores’ phone records do not indicate national security.
                            20   After all, his work cell at issue was publicly listed on a free website for a fair industry trade company
                            21   next to his home address. Nor does the scope of his work involve military secrets or national security.
                            22   Gordon Decl. ¶ 73, Ex. 22 (Flores Dep. 12:08-16, 13:17-24). As to the only remaining executive
                            23   privilege, the Presidential communications privilege, that is a presumptive privilege for presidential
                            24   communications and not applicable here. United States v. Nixon 418 US 683, 708 (1974).
                            25          Regarding Mr. Flores’ brief assertion of attorney-client privilege, he has not met this burden
                            26   either. U.S. v. Ruehle, 583 F.3d 600, 607 (9th Cir. 2009) ( “a party asserting the attorney client
                            27   privilege has the burden of establishing the relationship and the privileged nature of the
                            28   communication.”). Indeed, the Ninth Circuit “strictly construe[s]” and requires the proponent to pass
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                             1   an “eight-factor test to determine whether communications are covered by the attorney-

                             2   client privilege,” none of which Mr. Flores has established. Schaeffer v. Gregory Village Partners,
                             3   L.P., 78 F.Supp.3d 1198, 1202 (N.D. Cal. 2015). Additionally, Mr. Flores’ phone records could not

                             4   implicate the attorney-client privilege because such records reveal no confidential attorney-client
                             5   communications. They simply show call numbers, dates, and call duration. See McArthur v. Robinson,
                             6   98 F.R.D. 672, 674 (E.D. Ark. 1983) (court ordered production of law firm’s phone logs because “none
                             7   of [phone logs] involve a communication of a confidential legal matter.”)
                             8                  iii.     Mr. Flores Misapplies the Apex Deposition Doctrine
                             9            Mr. Flores’ final argument misstates the apex deposition doctrine, which provides that “top
                            10   government executives are normally not subject to depositions.” Church of Scientology of Boston v.
                            11   I.R.S., 138 F.R.D. 9, 12 (D. Mass. 1990). Even if he did not misstate the apex deposition doctrine, Mr.
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                            12   Flores again failed to meet his burden. Nor could he, because the apex deposition doctrine does not
                            13   apply.
                            14            At the outset, Mr. Flores claims the fact he sat for deposition prohibits the instant subpoena for
                            15   phone records. But he has the apex deposition doctrine backwards—it operates to bar depositions, not
                            16   document requests. “[C]ourts have declined to extend the apex doctrine outside the context of
                            17   depositions, holding that it is not a protective shield that prohibits document discovery from high-
                            18   ranking officials.” L.A. Alliance v. City of Los Angeles, 2023 WL 5505037, * 6 (C.D. Cal. Aug. 2,
                            19   2023) (“declin[ing] to apply the apex doctrine to Plaintiffs' RFPs”); See In re Facebook, Inc.
                            20   Consumer Priv. User Profile Litig. , 2021 WL 10282213, at *10 (N.D. Cal. Nov. 14, 2021) (collecting
                            21   cases declining to apply “Apex Witness” doctrine to the production of documents and ordering same).
                            22   The cases cited by Mr. Flores do not provide otherwise.4
                            23
                                 4
                            24           See also Blankenship v. Fox News Network, LLC, 2021 WL 2345972, at *3, n. 5 (S.D.W. Va.
                                 June 8, 2021) (apex doctrine “typically applies only to protect senior executives from attending costly
                            25   and distracting depositions rather than from merely collecting and producing documents”); Alta
                                 Devices, Inc. v. LG Elecs., Inc., 2019 WL 8757255, at *1 (N.D. Cal. Feb. 20, 2019) (disagreeing “that
                            26   simply because a prospective custodian happens to be a senior executive, such custodian is not subject
                                 to collection of responsive ESI.”)Kyle Engineering, Co. v. Kleppe, 600 F.2d 226, 231 (9th Cir. 1979)
                            27   (“district court's order directing Kleppe to answer interrogations in lieu of a deposition does not appear
                                 unreasonable”); Federal Deposit Ins. Corp. v. 11,950 Acres, More or Less, Located in Cameron
                            28   County, Texas, 58 F.3d 1055 (5th Cir. 1995) (declining to quash notices of deposition issued to three
                                 members of FDIC's Board of Directors); Church of Scientology of Boston v. I.R.S., 138 F.R.D. 9, 12
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                             1           Aside from misstating the apex deposition doctrine, Mr. Flores failed to meet his burden.

                             2   Plaintiffs need not overcome an apex objection at all until Mr. Flores first proves he is a high ranking
                             3   official. See Estate of Levingston v. County of Kern, 320 F.R.D. 520 (E.D. Cal. 2017) (in regards to

                             4   apex deposition, “[a]s an initial matter, an individual objecting to a deposition must first demonstrate
                             5   he “is sufficiently ‘high-ranking’….”), citing Thomas v. Cate, 715 F.Supp.2d 1012, 1049 (E.D. Cal.
                             6   2010). Mr. Flores has provided no evidence his station is “high ranking.” He has not provided his own
                             7   declaration nor is his attorney’s declaration is insufficient on this issue. Merely declaring himself “high
                             8   ranking” through his counsel does not make it so.5
                             9           Even if Mr. Flores proved he is a high ranking official, the apex deposition doctrine still does
                            10   not apply for a host of reasons. Apex discovery is permitted when “(1) ... the deponent has unique
                            11   first-hand, non-repetitive knowledge of the facts at issue in the case[,] and (2) … the party seeking
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                            12   the deposition has exhausted other less intrusive discovery methods.” Id. Here, Mr. Flores already sat
                            13   for, and admitted, he has firsthand knowledge of various material issues. Gordon Decl. ¶¶ 76, 80.
                            14   Additionally, the instant document requests via subpoena are a species of the “less intrusive discovery
                            15   methods” envisioned by the apex doctrine. See L.A. Alliance v. City of Los Angeles, 2023 WL 5505037,
                            16   at *5 (“requests for production tend to be less time-consuming and distracting” under the “less
                            17   intrusive” analysis). And even if apex doctrine did somehow apply to subpoenaed document requests
                            18   (it doesn’t), Plaintiffs need not exhaust all over avenues before pursuing such records. See In re
                            19   Transpacific Passenger Air Transp. Antitrust Litig., 2014 WL 939287, at *1 (N.D. Cal. Mar. 6,
                            20   2014) (exhaustion of other discovery routes is an “important consideration” but not a necessary
                            21   precondition under the apex doctrine).6
                            22
                                 (D. Mass. 1990)(deposition of official sought); See Nagle v. Superior Court (1994) 28 Cal.App.4th
                            23   1465 (depositions of officials sought).
                                 5
                            24          Here, the subpoena is directed to Verizon. Mr. Flores, even if he is a high ranking official, is
                                 not bothered or harassed at all, which is the entire point of the apex doctrine. See Apple Inc. v. Samsung
                            25   Electronics Co., Ltd, 282 F.R.D. 259, 263 (N.D. Cal. 2012) (explaining the apex doctrine exists
                                 because depositions of high ranking officials “create[] a tremendous potential for abuse or
                            26   harassment”).
                                 6
                            27          Mr. Flores also continuously states Plaintiff must show “exceptional circumstances,”
                                 presenting that phrase as a separate requirement. It is not. It is merely how court’s describe a situation
                            28   when the apex doctrine elements are met, thus permitting deposition of the high ranking official. See
                                 BAE Systems San Diego Ship Repair Inc. v. United States, 670 F.Supp.3d 1064, 1071 (S.D. Cal. 2023)
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                             1          D.      Plaintiffs Will Not Disseminate Mr. Flores’ Business Phone Records

                             2          Under Rule 26(c), “[t]he court may, for good cause, issue an order to protect a party or person
                             3   from annoyance, embarrassment, oppression, or undue burden or expense.” Fed. R. Civ. P. 26(c)(1).

                             4   “The party opposing disclosure has the burden of proving ‘good cause,’ which requires a showing
                             5   ‘that specific prejudice or harm will result’ if the protective order is not granted.” In re Roman
                             6   Catholic Archbishop of Portland in Oregon, 661 F.3d 417, 424 (9th Cir. 2011). Mr. Flores’ has not
                             7   met his burden to show good cause. His grounds for a protective order are the same as his Motion to
                             8   Quash, which are flawed or insufficiently supported for the same reasons. To the extent Mr. Flores
                             9   also argues a protective order is required because the subpoena is “unduly burdensome and potentially
                            10   lead to undue harassment,” Mot. to Quash at 6:12-13, that too is of no moment. Mr. Flores would not
                            11   be fulfilling the subpoena—Verizon would. Nor would he be fielding discovery questions about the
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                            12   records or even reviewing the records. He is simply not burdened or harassed at all.
                            13          Although Mr. Flores has not met his burden to show good cause, Plaintiffs already agreed not
                            14   to disseminate Mr. Flores business phone records, and to redact sensitive information from Court
                            15   filings. Gordon Decl. ¶ 95. To the extent the Court wishes to issue a protective order on those bases,
                            16   Plaintiffs have no objection.
                            17   IV.    CONCLUSION
                            18          Plaintiffs respectfully request this Court deny Mr. Flores’ Motion to Quash, ECF 87, and grant
                            19   Plaintiffs’ currently-pending Motion to Compel Mr. Flores’ business phone records, ECF 78 and 85.
                            20
                            21                                                ADVANCING LAW FOR ANIMALS
                            22
                                 Dated: June 19, 2024                 By:     /s/ Ryan Gordon
                            23                                                Ryan Gordon
                                                                              Vanessa Shakib
                            24                                                Attorneys for Plaintiffs
                            25
                            26   (explaining “[t]o demonstrate that exceptional circumstances justify deposing a … high-ranking
                                 government official, a party must demonstrate the official has unique first-hand knowledge … or that
                            27   the necessary information cannot be obtained through other, less burdensome or intrusive means”)
                                 (emphasis added). Plaintiffs need not show “exceptional circumstances” for the subpoenaed
                            28   documents. They need only show they are relevant to their claims, which they have. Fed. R. Civ. P.
                                 26(b).
                                                                                 23
                                                            PLAINTIFFS’ OPPOSITION TO MOTION TO QUASH
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                                                                     PROOF OF SERVICE
                             1
                                 I, Ryan Gordon, declare:
                             2
                                        I am employed in the County of Los Angeles, State of California. I am over the age of 18
                             3   and not a party to the within action. My business address is 407 N. Pacific Coast Hwy. #267,
                                 Redondo Beach, CA 90277.
                             4
                                         On June 19, 2024, I served on the interested parties in this action the following document(s)
                             5   described as PLAINTIFF JESSICA LONG’S OPPOSITION TO MOTION TO QUASH (ECF
                             6   87)

                             7   ý By placing ý a true copy thereof enclosed in a sealed envelope addressed as follows:

                             8    CHRISTOPHER M. PISANO,                           JOHN C. BRIDGES
                                  christopher.pisano@bbklaw.com                    CALIFORNIA DEPARTMENT OF JUSTICE
                             9    DAMIAN A. NORTHCUTT,                             Tort and Condemnation Section
                                  Damian.Northcutt@bbklaw.com                      1300 I Street, Suite 1210
                            10
                                  JULIA HERNANDEZ                                  Sacramento, CA, 95814
                            11    Julia.Hernandez@bbklaw.co                        John.Bridges@doj.ca.gov
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                            14    VERIZON
                                  C/O Verizon Security Subpoena Compliance
                            15    180 Washington Valley Road
                                  Bedminster NJ 07921
                            16    Fax: 1.888.667.0028.
                            17    ý BY FAX: by transmitting via facsimile the document(s) listed above to the fax number(s)
                                    set forth for Verizon at its request.
                            18    ¨ OVERNIGHT DELIVERY: I deposited such envelope in a facility regularly maintained by
                            19      ý FEDERAL EXPRESS with delivery fees fully provided for or delivered the envelope to a
                                    courier or driver of ¨ FEDERAL EXPRESS authorized to receive documents at 407 N. Pacific
                            20      Coast Hwy, #267, Redondo Beach, CA 90277 with delivery fees fully provided for.
                                  ý BY E-MAIL OR ELECTRONIC TRANSMISSION: The document(s) was sent from e-
                            21      mail address rgordon@advancinglawforanimals.org to the persons at the e-mail addresses
                                    listed in the Service List. I did not receive, within a reasonable time after the transmission, any
                            22      electronic message or other indication that the transmission was unsuccessful.

                            23    ý [Federal]     I declare that I am employed in the offices of a member of the State Bar of this
                                                  Court at whose direction the service was made. I declare under penalty of perjury
                            24                    under the laws of the United States of America that the above is true and correct.

                            25   Executed on June 19, 2024, at Los Angeles, California.

                            26                                                        /s/Ryan Gordon
                                                                                         Ryan Gordon
                            27
                            28
                                                                                 24
                                                            PLAINTIFFS’ OPPOSITION TO MOTION TO QUASH
